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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG            *   MDL NO. 2179
DEEPWATER HORIZON IN THE                   *
GULF OF MEXICO, ON APRIL 20,               *   CIVIL ACTION NO. 2:10-CV-02771
2010                                       *
                                           *   JUDGE BARBIER
                                           *
                                           *   SECTION J
THIS DOCUMENT RELATES TO:                  *
All Cases in Pleading Bundle Section *         MAGISTRATE JUDGE SHUSHAN
III.B(3),    Case       No.     2011-1084 *
(Pietrangelo v. BP America Production *        MAG. DIV. 1
Company, et al.), Case No. 2011-1159 *
(Bouisse, et al. v. BP America *
Production Company, et al.), Case No. *
2011-1206 (Anderson v. BP America *
Production Company, et al.), Case No. *
2011-1274 (Lam, et al. v. BP America *
Production Company, et al.), Case No. *
2011-2024 (Bayhi v. Danos and Curole *
Staffing LLC, et al.), Case No. 2011-2395 *
(Crawford v. BP America Production *
Company, et al.), Case No. 2011-2527 *
(RMC General Contractors, LLC v. BP *
America Production Company, et al.), *
Case No. 2011-2530 (Arata, et al. v. BP *
America Production Company, et al.), *
Case No. 2012-067 (Degeyter, et al. v. *
Danos & Curole Staffing, L.L.C., et al.), *
Case No. 2012-417 (Leboeuf v. BP *
America Production Company, et al.), *
Case No. 2012-814 (Duong, et al. v. BP *
America Production Company, et al.), *
and Case No. 2012-1295 (Frelich, et al. v. *
BP America Production Company, et *
al.)                                       *
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                    EX PARTE MOTION TO WITHDRAW COUNSEL

       Danos and Curole Staffing, LLC (“Danos”) hereby moves this Court for an order

withdrawing Stephen M. Pesce as counsel of record for Danos in the captioned proceedings. Mr.

Pesce is no longer associated with Flanagan Partners LLP. Harold J. Flanagan, Sean P. Brady,

Brandon C. Briscoe, and Andy Dupre of Flanagan Partners LLP will remain as counsel for Danos

in these actions.

                                          Respectfully submitted,

                                          /s/     Sean P. Brady
                                          Harold J. Flanagan (Bar No. 24091)
                                          Stephen M. Pesce (Bar No. 29380)
                                          Sean P. Brady (Bar No. 30410)
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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing ex parte motion to withdraw counsel of Danos

and Curole Staffing, LLC has been served on All Counsel by electronically uploading the same to

Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was

electronically filed with the Clerk of Court of the United States District Court for the Eastern

District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing in

accordance with the procedures established in MDL 2179, on this 8th day of July, 2016.




                                                    /s/ Sean P. Brady




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